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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

PAMELA DANIEL,                                Civil Action No.:

      Plaintiff,
                                              COMPLAINT AND DEMAND FOR
vs.                                           JURY TRIAL

MIDLAND CREDIT
MANAGEMENT, INC.; and DOES 1
through 10, inclusive,

      Defendant.


                                    COMPLAINT

                                   I. INTRODUCTION

      1. This is an action for actual and statutory damages brought by Plaintiff,

Pamela Daniel, an individual consumer, against Defendant, Midland Credit

Management, Inc., for violations of the law, including, but not limited to,

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

(hereinafter ‘‘FDCPA’’), which prohibits debt collectors from engaging in abusive,

deceptive, and unfair practices.

                                   II. JURISDICTION

      2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

Venue in this District is proper in that the Defendant transacts business here.

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                                    III.   PARTIES

      3. Plaintiff, Pamela Daniel, is a natural person with a permanent residence

in Stamford, Fairfield County, Connecticut 06904.

      4. Upon information and belief, the Defendant, Midland Credit

Management, Inc., is a corporation engaged in the business of collecting debt in

this state and in several other states, with its principal place of business located at

3111 Camino Del Rio N, #1300, San Diego, San Diego County, California 92108.

The principal purpose of Defendant is the collection of debts in this state and

several other states, and Defendant regularly attempts to collect debts alleged to be

due another.

      5. Defendant is engaged in the collection of debts from consumers using the

mail and telephone. Defendant regularly attempts to collect consumer debts alleged

to be due to another. Defendant is a ‘‘debt collector’’ as defined by the FDCPA, 15

U.S.C. § 1692a(6).

                          IV.    FACTUAL ALLEGATIONS

      6. The debt that Defendant is attempting to collect on is an alleged

obligation of a consumer to pay money arising out of a transaction in which the

money, property, insurance or services which are the subject of the transaction are

primarily for personal, family, or household purposes, whether or not such

obligation has been reduced to judgment.


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      7. Within one (1) year preceding the date of this Complaint, Defendant, in

connection with the collection of the alleged debt, communicated with Plaintiff’s

daughter, who is not a co-signer on the alleged debt, and the communication was

not in a manner covered by §1692b of the FDCPA.

      8. Within one (1) year preceding the date of this Complaint, Defendant, in

connection with the collection of the alleged debt, contacted Plaintiff and

threatened to take legal action against Plaintiff.

      9. Defendant has no standing to commence legal proceedings on behalf of

the creditor.

      10. Defendant is a debt collection company and as a debt collection

company attempting to collect an alleged debt, Defendant can only refer the matter

back to the creditor with a recommendation that the original creditor attempt legal

proceedings.

      11. The representations made to Plaintiff by Defendant regarding legal

proceedings were false.

      12. Within one (1) year preceding the date of this Complaint and during the

first thirty (30) days of communicating with Plaintiff, Defendant, in connection

with the collection of the alleged debt, demanded payment on the alleged debt

without also informing Plaintiff that Plaintiff could dispute the validity of the




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alleged debt and thereby overshadowed the Plaintiff’s right to dispute the validity

of the debt.

        13. The natural consequences of Defendant’s statements and actions were to

unjustly condemn and vilify Plaintiff for her non-payment of the debt she allegedly

owed.

        14. The natural consequences of Defendant’s statements and actions were to

produce an unpleasant and/or hostile situation between Defendant and Plaintiff.

        15. The natural consequences of Defendant’s statements and actions were to

cause Plaintiff mental distress.

        16.    Defendant utilized unfair and unconscionable means to collect on

Plaintiff’s alleged debt, by lying to and misleading Plaintiff.

                            V. FIRST CLAIM FOR RELIEF

        17. Plaintiff repeats and realleges and incorporates by reference to the

foregoing paragraphs.

        18. Defendants violated the FDCPA. Defendants’ violations include, but

are not limited to, the following:

               (a) Defendant violated §1692b(2) of the FDCPA by telling a third

                  party that the Plaintiff owes an alleged debt; and




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   (b) Defendant violated §1692c(b) of the FDCPA by communicating

      with a third party in connection with the collection of the alleged

      debt without the consent of the Plaintiff and the contact was not in

      a manner covered by §1692b of the FDCPA; and

   (c) Defendant violated §1692d of the FDCPA by engaging in conduct

      the natural consequences of which is to harass, oppress, or abuse

      any person in connection with the collection of an alleged debt;

      and

   (d) Defendant violated §1692e of the FDCPA by using a false,

      deceptive, or misleading representation or means in connection

      with the collection of the alleged debt; and

   (e) Defendant violated §1692e(5) of the FDCPA by threatening to take

      action that the Defendant does not intend to take and/or the

      Defendant cannot legally take; and

   (f) Defendant violated §1692e(10) of the FDCPA by using false

      representation or deceptive means in connection with the collection

      the alleged debt; and

   (g) Defendant violated §1692f of the FDCPA by using unfair or

      unconscionable means in connection with the collection of an

      alleged debt; and


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             (h) Defendant violated §1692g(b) of the FDCPA by overshadowing or

                 being inconsistent with the disclosure of the consumer’s rights to

                 dispute the debt or request the name and address of the original

                 creditor.

      19. Defendant’s acts as described above were done intentionally with the

purpose of coercing Plaintiff to pay the alleged debt.

      20. As a result of the foregoing violations of the FDCPA, Defendant is

liable to the Plaintiff, Pamela Daniel, for declaratory judgment that Defendant’s

conduct violated the FDCPA, actual damages, statutory damages, and costs and

attorney fees.

      WHEREFORE, Plaintiff respectfully requests that judgment be entered

against Defendant, Midland Credit Management, Inc., for the following:

   A. Declaratory judgment that Defendant’s conduct violated the FDCPA.

   B. Actual damages.

   C. Statutory damages.

   D. Costs and reasonable attorney fees.

   E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be

      allowed under the law.

   F. For such other and further relief as the Court may deem just and proper.




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                         DEMAND FOR JURY TRIAL

      Please take notice that Plaintiff, Pamela Daniel, demands trial by jury in this

action.

Dated: May 19, 2014

                                              RESPECTFULLY SUBMITTED,

                                              By: /s/ Daniel G. Ruggerio
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